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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      D.G.W. Holding Corp.                                                                        Case No.   18-10849
                                                                                  Debtor(s)             Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Jae Yang, declare under penalty of perjury that I am the President of D.G.W. Holding Corp., and that the
following is a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a
special meeting duly called and held on the 28 day of March , 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Jae Yang, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Jae Yang, President of this Corporation is authorized and directed to appear
in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds
and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Jae Yang, President of this Corporation is authorized and directed to employ
Mark Frankel, attorney and the law firm of Backenroth Frankel & Krinsky, LLP to represent the corporation in such
bankruptcy case."

 Date      March 28, 2018                                                       Signed   /s/ Jae Yang
                                                                                         Jae Yang




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                           D.G.W. Holding Corp.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Jae Yang, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Jae Yang, President of this Corporation is authorized and directed to appear
in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds
and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Jae Yang, President of this Corporation is authorized and directed to employ
Mark Frankel, attorney and the law firm of Backenroth Frankel & Krinsky, LLP to represent the corporation in such
bankruptcy case.

 Date      March 28, 2018                                                        Signed    Jae Yang




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